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 1     Daniel G. Shay (SBN 250548)
       DanielShay@TCPAFDCPA.com
 2     LAW OFFICE OF DANIEL G. SHAY
       409 Camino Del Rio South, Suite 101B
 3     San Diego, CA 92108
       Telephone: (619) 222-7429
 4     Facsimile: (866) 431-3292
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                                 UNITED STATES DISTRICT COURT
 8
                            SOUTHERN DISTRICT OF CALIFORNIA
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10
       JANE HUDSON, CHARISSA LEWIS,             )   CASE NO. 3:17-cv-01741-AJB-JLB
11
       WILLIAM PEREZ, JR., RUSSELL              )
12     SMITH, AND CHRISTINA WISEMAN,            )   CLASS ACTION
13     INDIVIDUALLY AND ON BEHALF OF            )
       ALL OTHERS SIMILARLY SITUATED,           )   JOINT STIPULATED MOTION TO
14                                              )   DISMISS PURSUANT TO FED. R.
15                 Plaintiffs,                  )   CIV. P. 41(a)(1)(A)(ii)
                                                )
16           vs.                                )
17                                              )
       EXPERIAN INFORMATION                     )
18     SOLUTIONS, INC.,                         )
19                                              )
                   Defendant.                   )
20                                              )
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                                              -1-          JOINT STIPULATED MOTION TO DISSMISS
                                                                   CASE NO: 3:17-cv-01741-AJB-JLB
     Case 3:17-cv-01741-AJB-JLB Document 27 Filed 04/16/18 PageID.142 Page 2 of 3


             IT IS HEREBY STIPULATED by and between Plaintiffs JANE HUDSON,
 1
       CHARISSA LEWIS, WILLIAM PEREZ, JR., RUSSELL SMITH, and
 2
 3     CHRISTINA WISEMAN (“Plaintiffs”), and Defendant EXPERIAN

 4     INFORMATION SOLUTIONS, INC., (“Defendant”) through their respective

 5     counsel of record, that this Joint Stipulated Motion to Dismiss be granted, and

 6     that the actions of Plaintiffs be dismissed individually with prejudice, and that

 7     the putative class claims asserted in the lawsuit be dismissed without prejudice

 8     pursuant to FRCP 41(a)(1)(A)(ii).

 9           Each party to bear their own costs and expenses.

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11
                                              LAW OFFICE OF DANIEL G. SHAY
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13      Dated: April 16, 2018                 s/ Daniel G. Shay
                                              Daniel G. Shay, Esq.
14                                            DanielShay@TCPAFDCPA.com
15                                            Attorney for Plaintiffs

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                                              JONES DAY
18
19      Dated: April 16, 2018                 s/ Ann T. Rossum
                                              Ann T. Rossum, Esq.
20                                            ATRossum@JonesDay.com
21                                            Attorney for Defendant

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                                               -2-              JOINT STIPULATED MOTION TO DISSMISS
                                                                        CASE NO: 3:17-cv-01741-AJB-JLB
     Case 3:17-cv-01741-AJB-JLB Document 27 Filed 04/16/18 PageID.143 Page 3 of 3


                                     SIGNATURE CERTIFICATION
 1
 2           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
 3     and Procedures Manual, I hereby certify that the content of this document is acceptable to
 4     Ann T. Rossum, counsel for Defendant, and that I have obtained her authorization to affix
 5     her electronic signature to this document.
 6
 7
       Dated: April 16, 2018                  s/ Daniel G. Shay
 8                                            Daniel G. Shay, Esq.
                                              DanielShay@TCPAFDCPA.com
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                                                    -3-        JOINT STIPULATED MOTION TO DISSMISS
                                                                       CASE NO: 3:17-cv-01741-AJB-JLB
